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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
           Plaintiff,                           )
                                                )
     v.                                         )      No. 4:12CR082 JCH NAB
                                                )
MICHAEL TERRY,                                  )
                                                )
           Defendant.                           )

               ORDER RELATING TO DEFENDANT’S MOTION TO EXTEND
                TIME TO FILE PRETRIAL MOTIONS AND SPEEDY
                               TRIAL ACT FINDING

          This matter is pending before the undersigned pursuant to 28 U.S.C. § 636(b) for pretrial

matters. The Defendant was arraigned on March 13, 2012, and pled not guilty to the offenses

charged in the indictment. At that time, Defendant submitted a written request for additional

time to obtain and review discovery materials, and to determine whether and/or what pretrial

motions should be filed in this matter.

          Based on the above, the undersigned believes, for the reasons set forth in the Defendant’s

motion, that denying the Defendant’s motion would deny counsel for the Defendant the

reasonable time necessary for effective preparation of any pretrial motions, taking into account

the exercise of due diligence, and that the ends of justice served by granting this motion

outweigh the best interest of the public and the Defendant in a speedy trial, and therefore, the

time granted to prepare pretrial motions, or a waiver thereof, is excluded from computation of

the Defendant’s right to a speedy trial pursuant to 18 U.S.C. § 3161(c)(1).
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Accordingly,

       IT IS HEREBY ORDERED that the Request for Additional Time to Obtain and Review

Discovery Materials and to Determine Whether and/or What Pretrial Motions Should be Filed be

GRANTED. The Defendant shall file pretrial motions no later than March 23, 2012.

       IT IS FURTHER ORDERED that pursuant to the Speedy Trial Act, 18 U.S.C. §

3161(h)(7)(A) and (B) (iv), the time granted by this order to review discovery and prepare

pretrial motions or a waiver thereof is excluded from computation of speedy trial time.



                                                         /s/ Nannette A. Baker
                                                    NANNETTE A. BAKER
                                                    UNITED STATES MAGISTRATE JUDGE

Dated this 13th day of March, 2012.




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